
43 So. 3d 823 (2010)
Ileana M. VALDES, Appellant,
v.
BARRY UNIVERSITY and Fireman's Fund Insurance Co., Appellees.
No. 1D10-3435.
District Court of Appeal of Florida, First District.
August 25, 2010.
Ileana M. Valdes, Appellant, pro se.
No appearance for Appellees.
PER CURIAM.
Upon review of Appellant's timely response to this court's July 6, 2010, order to show cause, we conclude Appellant has failed to show cause why the appeal should not be dismissed as one from a non-appealable, non-final order. See Fla. R.App. P. 9.180(b)(1). Accordingly, the appeal is DISMISSED for lack of jurisdiction.
DISMISSED.
THOMAS, WETHERELL, and MARSTILLER, JJ., concur.
